
















COURT OF APPEALS

SECOND DISTRICT OF TEXAS

FORT WORTH



NO. 2-09-016-CV





JULIA RUSSELL &amp; ALL OCCUPANTS
	APPELLANT



V.

BOSHOME, LLC
	APPELLEE



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FROM COUNTY COURT AT LAW NO. 1 
OF TARRANT COUNTY



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MEMORANDUM OPINION
(footnote: 1) AND JUDGMENT



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On January 15, 2009 and January 28, 2009, we notified appellant, in accordance with rule of appellate procedure 42.3(c), that we would dismiss this appeal unless the $175 filing fee was paid. &nbsp;
See
 Tex. R. App. P. 42.3(c). &nbsp;Appellant has not paid the $175 filing fee. &nbsp;
See
 
Tex. R. App. P.
 5, 12.1(b).

Because appellant has failed to comply with a requirement of the rules of appellate procedure and the Texas Supreme Court’s order of August 28, 2007,
(footnote: 2) we dismiss the appeal. &nbsp;
See
 
Tex. R. App. P. 42.3(c), 43.2(f).

Appellant shall pay all costs of this appeal, for which let execution issue. &nbsp;
See
 
Tex. R. App. P.
 43.4.

PER CURIAM



PANEL: &nbsp;DAUPHINOT, GARDNER, and WALKER, JJ. &nbsp;



DELIVERED:
 &nbsp;February 19, 2009 &nbsp;&nbsp;&nbsp;

FOOTNOTES
1:See
 
Tex. R. App. P.
 47.4.


2:See
 Supreme Court of Tex., 
Order Regarding Fees Charged in Civil Cases in the Supreme Court and the Courts of Appeals and Before the Judicial Panel on Multidistrict Litigation
, Misc. Docket No. 07-9138 (Aug. 28, 2007) (listing fees in courts of appeals).




